         Case 1:17-cv-01016-CFL Document 11 Filed 01/12/18 Page 1 of 5
                                    ORIGINAL
             3Jn tbe Wniteb $tates ~ourt of jfeberal ~Iaitns
                                         No. 17-1016C
                                                                                  FILED
                                    (Filed: January 12, 2018)
                                                                                JAN 12 2018
 **********************************                                            U.S. COURT OF
                                             )                                FEDERAL CLAIMS
 PHILIP ABRAHAM PREMYSLER,                   )    Claim of breach of contract; prize
                                             )    competition under§ 655 of the Energy
                       Plaintiff,            )    Independence and Security Act of 2007;
                                             )    subject matter jurisdiction
        v.                                   )
                                             )
 UNITED STATES,                              )
                                             )
                       Defendant.            )
                                             )
 **********************************

       Philip Abraham Premysler, pro se, Davie, Florida.

        Daniel B. Volk, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, Washington, D.C., for defendant. With him on the briefs were
Chad A. Readier, Principal Deputy Assistant Attorney General, Civil Division, Robert E.
Kirschman, Jr., Director, and Patricia M. McCarthy, Assistant Director, Commercial Litigation
Branch, Civil Division, United States Department of Justice, Washington, D.C.

                                    OPINION AND ORDER

LETTOW, Judge.

         Plaintiff, Philip Premysler, seeks monetary and injunctive relief in a suit against the
United States for harms arising from its breach of an implied conh·act allegedly arising from a
prize competition. In May 2008, the United States Department of Energy ("DOE") issued the
Bright Tomorrow Lighting Competition to encourage the development of a LED replacement for
the traditional 60-watt incandescent lightbulb. The competition offered a $10,000,000 prize to
the first successful entrant. Mr. Premysler became aware of and interested in the competition,
and in January 2011, he began working with the New York State Energy Research and
Development Authority ("New York Development Authority") to obtain funding to further
develop a LED bulb respecting which he had previously submitted a patent application. Before
he secured such funding, DOE announced that Philips Light North America had won the
competition's prize as the first successful enh·ant. After the announcement, the New York
Development Authority became skeptical of the viability of Mr. Premysler's development
project because the prize had already been awarded. Mr. Premysler and the Authority reached an
impasse soon thereafter- no funding was secured and Mr. Premysler never submitted an entry to
the competition. Mr. Premysler filed the complaint in this case on July 27, 2017, alleging a
           Case 1:17-cv-01016-CFL Document 11 Filed 01/12/18 Page 2 of 5




breach of an implied contract created by the prize competition i.e., a contract between the United
States and himself as a United States citizen interested in participating in the competition. He
asserts that DOE breached the implied contract by awarding the prize to Philips, an allegedly
ineligible entrant.

        Pending before the court is the government's motion to dismiss for lack of subject matter
jurisdiction pursuant to Rule 12(b)(l) of the Rules of the Court of Federal Claims ("RCFC").
Def.'s Mot. to Dismiss ("Def.'s Mot."), ECFNo. 5. Mr. Premyslerhas responded in opposition
to the government's motion. Pl.'s Opp'n, ECF No. 9. For the reason stated, the court grants the
government's motion for dismissal.

                                        BACKGROUND

         Pursuant to Section 655 of the Energy Independence and Security Act of2007, Pub. L.
No. 110-140, tit. VI, § 655, 121 Stat. 1492, 1700 (codified in relevant part at 42 U.S.C. § 17243),
the Secretary of DOE "shall establish and award Bright Tomorrow Lighting Prizes for solid state
lighting" "[n]ot later than [one] year after December 19, 2007." 42 U.S.C. § 17243(a). On May
28, 2008, consistent with the statute, DOE announced the Bright Tomorrow Lighting
Competition. Comp!. Ex. 1 (announcement of the Competion), at 1, 3. The competition was
"intended to encourage development and deployment of highly energy efficient solid-state
[lightbulbs] to replace several of the most common [lightbulbs] cuTI'ently used in the United
States," particularly "60-watt A 19 incandescent and PAR 38 halogen incandescent [bulbs]."
Comp!. Ex. 1, at 3. DOE was especially interested in the creation of a viable LED replacement
for the traditional 60-watt incandescent bulb. See Comp!. iii! 1-3; Comp!. Ex. 2 (Competition,
rev. 1), at 3. The agency offered a $10,000,000 prize to the first entrant that succeeded in
achieving that goal. Comp!. Ex. 1, at 3.

         In January 2011, Mr. Premysler "submitted an application for funding to the New York
State Energy Research and Development Authority for a project to develop [a] LED lightbulb"
along the lines of the lightbulb addressed in a patent application he filed May 15, 2007. Comp!.
ii 24. 1 The proposal that Mr. Premysler submitted along with his application to the Authority
requested $300,191 in funding. Comp!. ii 24. The goal of the proposed project was to generate a
lightbulb suitable for submission in DOE's competition. The Authority expressed interest in
"pursuing the proposal" and, on August 2, 2011, sent Mr. Premysler an e-mail "that included a
statement of work." See Comp!. iii! 25-26. The very next day, however, DOE announced that
Philips Light North America had won the competition prize of $10,000,000 for developing a
LED 60-watt replacement bulb. See Comp!. iii! 2-3. Subsequently, the Authority sent Mr.
Premysler a "revised statement of work" in October 2011, and Mr. Premysler met with a
representative of the Authority on February 24, 2012. Comp!. iii! 28-29. At that meeting, the
representative of the Authority "repeatedly questioned the viability of [Mr. Premysler's] ...
project in view of the fact that the [competition prize] had been awarded to Philips." Comp!. ii
29 (emphasis omitted). Thereafter, Mr. Premysler and the Authority "reached an impasse" as to



       1
        Based upon Mr. Premysler's patent application, U.S. Patent No. 8,680,754 was
ultimately issued on March 25, 2014. See Comp!. Ex. 11.
                                                2
         Case 1:17-cv-01016-CFL Document 11 Filed 01/12/18 Page 3 of 5




Mr. Premysler's funding application. Comp!.     if 29.   Mr. Premysler never submitted an entry to
the competition. See Def.' s Mot at 2.

        Mr. Premysler filed the complaint in this case on July 27, 2017, alleging that Philips was
an ineligible entrant and that by improperly awarding Philips the competition prize DOE had
contravened "an implied contract between the United States and ... United States citizens
interested in fairly participating in the competition." See Comp!. at 2. This breach harmed Mr.
Premysler, in his view, because the improper award to Philips led to "an impasse" with the New
York Development Authority and prevented him from securing the funding necessary to further
develop the lightbulb covered by his patent application and enter the competition. See Comp!. ifif
24-29. As a remedy for this harm, Mr. Premysler requests that the award to Philips of the
$10,000,000 prize be rescinded, that the prize be awarded to him "for [his] patented LED
lightbulb," that he be compensated in the amount of $300, 191, the amount he "would have
received from [the New York Development Authority]," and any "other compensation ... the
court may see fit" to grant him. Comp!. ifif 31-34.

                                 STANDARDS FOR DECISION

        In any action, the plaintiff has the burden of establishing jurisdiction. Reynolds v. Army
& Air Force Exch. Serv., 846 F.2d 746, 747 (Fed. Cir. 1988). When ruling on a motion to
dismiss for lack of jurisdiction, the court must "accept as true all undisputed facts asserted in the
plaintiffs complaint and draw all reasonable inferences in favor of the plaintiff." Trusted
Integration, Inc. v. United States, 659 F.3d 1159, 1163 (Fed. Cir. 2011). The leniency afforded
to a pro se plaintiff with respect to formalities does not relieve such a litigant from satisfying
jurisdictional requirements. Kelley v. Secretary, United States Dep 't ofLabor, 812 F.2d 1378,
 1380 (Fed. Cir. 1987).

        The Tucker Act provides this court with jurisdiction over "any express or implied
contract with the United States." 28 U.S.C. § 149l(a)(l). There is a low bar for establishing
subject matter jurisdiction over such contract claims. See Engage Learning, Inc. v. Salazar, 660
F.3d 1346, 1353 (Fed. Cir. 2011) ("[J]urisdiction under [the Tucker Act] requires no more than a
non-frivolous a/legation ofa contract with the government.") (emphasis in original) (citing
Lewis v. United States, 70 F.3d 597, 602, 604 (Fed. Cir. 1995); Gould, Inc. v. United States, 67
F.3d 925, 929-30 (Fed. Cir. 1995)). "The general rule is that so long as the plaintiffs have made
a non-frivolous claim that they are entitled to money from the United States ... because they
have a contract right, this court has jurisdiction to settle the dispute." Anchor Tank Lines, LLC v.
United States, 127 Fed. Cl. 484, 493 (2016) (citing Adarbe v. United States, 58 Fed. Cl. 707, 714
(2003)) (additional citations and internal quotation marks omitted).

                                            ANALYSIS

        Mr. Premysler alleges that the competition created an implied contract between DOE and
him, as a U.S. citizen interested in entering the competition. See Comp!. at 2 ("[The
competition] established an implied contract between the United States and ... United States
citizens interested in fairly participating in the competition ... [,]including [Mr. Premysler].").
"The general requirements for a binding contract with the United States are identical for both


                                                  3
         Case 1:17-cv-01016-CFL Document 11 Filed 01/12/18 Page 4 of 5




express and implied contracts. The party alleging a contract must show a mutual intent to
contract including an offer, an acceptance, and consideration." Trauma Serv. Group v. United
States, 104 F.3d 1321, 1325 (Fed. Cir. 1997) (citations omitted). Moreover, "[i]t is settled law
that entrants to a contest are bound by ... a contract." Frankel v. United States, 122 Fed. Cl.
287, 290 (2015) ("Frankel!"), ajj"d, 842 F.3d 1246 (Fed. Cir. 2016) ("Frankel II"). "(C]ouiis
have long interpreted announcement of a contest as a contractual offer by a sponsor and entry
into the contest by a contestant as acceptance of that offer." Frankel II, 842 F.3d at 1250
(citations omitted).

        The government asserts that no contract, implied or otherwise, could have been formed
"because Mr. Premysler never submitted an entry for the competition," citing Frankel II for that
proposition. Def. 's Mot. at 3-4. Mr. Premysler claims that the instant case is distinguishable
from Frankel II because, unlike the "Robocall Challenge" contest at issue there, the DOE
competition had "no fixed deadline" for submission of entries. Pl.'s Opp'n at 1 (emphasis
omitted); see also Frankel II, 842 F.3d at 1248-49. DOE's rules for the competition stated that
it "w[ ould] remain open until one winner ... and two additional qualifiers are declared in each
category, or until 24 months have elapsed since the winning award in a given category,
whichever comes first." Comp!. Ex. 2, at 8-9. Mr Premysler claims that this case should be
treated differently than Frankel II because here the DO E's improper award to Philips
"prematurely cut off' Mr. Premysler's "opportunity ... to submit an entry and win the monetary
prize." Pl.'s Opp'n at 1 (emphasis omitted).

        Mr. Premysler's argument is ultimately unconvincing. This court can only exercise
jurisdiction where there is at least a non-frivolous allegation of a contract with the government.
See Engage Learning, 660 F.3d at 1353. Respecting his assertion that he entered into an implied
contract with the United States, see Comp!. at 2, Mr. Premysler fails to allege that he ever
submitted an entry to the competition and thereby accepted the government's open offer. Def.'s
Mot. at 2; see also Def.'s Reply in Support oflts Mot. to Dismiss ("Def.'s Reply") at 1, ECF No.
 10. As noted previously, it is an entry to an announced competition that functions as an
acceptance, and an expression of interest in or intent to enter the competition is insufficient. See
Frankel II, 842 F.3d at 1250. Absent such an acceptance, there can be no contract and, a fortiori,
there is no jurisdiction. Even if the nature of the deadline were relevant, the facts as alleged by
Mr. Premysler do not indicate that the timing ofDOE's deadline is what prevented him from
submitting an entry. Rather, it was his inability to secure funding to further develop the lightbulb
covered by his patent application. Under the facts set out in his complaint, Mr. Premysler had
two years, i.e., until August 3, 2013, to submit his entry and accept the government's offer after
DOE announced the award to Phillps as the winner of the competition. See Comp!.~ 3; Comp!.
Ex. 2, at 8-9. He failed to do so.

        In their briefing, the parties have touched on whether the DOE competition can fairly be
understood as a procurement enabling Mr. Premysler to challenge the award of the competition
prize to Philips as a bid protest "in connection with a procurement or a proposed procurement."
28 U.S.C. § 149l(b)(l). In Frankel II, however, the Federal Circuit determined that Congress
viewed prize competitions as distinct from "[procurement] contracts, grants, and cooperative
agreements," and therefore contracts relating to the Robocall Challenge contest were not
procurement contracts. Frankel II, 842 F.3d at 1251(applying15 U.S.C. § 3719, the general


                                                 4
         Case 1:17-cv-01016-CFL Document 11 Filed 01/12/18 Page 5 of 5




federal statute pertinent to federal prize competitions). "Whether a government contract is a
procurement contract is a legal question of statutory interpretation." Frankel II, 842 F.3d at 1250
(citing Wesleyan Co. v. Harvey, 454 F.3d 1375, 1378 (Fed. Cir. 2006)). The only different
statutory element in this case is derived from the Energy Independence and Security Act of2007,
and Section 655 of the Act contains no language that indicates Congress' intent that the DOE
competition be treated differently than any federal prize competition conducted under 15 U.S.C.
 § 3719. Therefore the Federal Circuit's holding in Frankel II applies with equal force here. The
DOE competition cannot be fairly considered a procurement, and this court does not have
jurisdiction over Mr. Premysler's challenge to awards made in connection with it.

                                         CONCLUSION

    For the reasons stated, the government's motion to dismiss Mr. Premysler's complaint is
GRANTED. The clerk shall enter judgment in accord with this disposition.

       No costs.




                                                     c~
       It is so ORDERED.



                                                  Judge




                                                 5
